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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

DOCTORS FOR A HEALTHY                                CV 20–46–M–DLC
MONTANA, a Montana Independent
Committee,

                      Plaintiff,                           ORDER

vs.

TIMOTHY FOX, in his official
capacity as Attorney General of
Montana; and JEFFREY MANGAN, in
his official capacity as Montana
Commissioner of Political Practices,

                      Defendant.

      Plaintiff has moved this Court for an order withdrawing its currently pending

motion for attorneys’ fees and costs (Doc. 34). (Doc. 38.) Plaintiff represents that

it has conferred with Defendants regarding the issue and the parties have agreed to

settle the case. (Id. at 1.) This motion is unopposed. (Id.)

      Accordingly, IT IS ORDERED that Plaintiff’s motion (Doc. 38) is

GRANTED.

      IT IS FURTHER ORDERED that Plaintiff’s motion for attorneys’ fees and

costs (Doc. 34) is WITHDRAWN.




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DATED this 18th day of September, 2020.




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